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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION

RYAN A. THOMAS, GORAN LAZIC,                        )
DOVONI R. SINGLETON,                                )
ILLINOIS STATE RIFLE ASSOCIATION, and               )
SECOND AMENDMENT FOUNDATION, INC.                   )
                                                    )
                     Plaintiffs,                    )
                                                    )
              v.                                    )
                                                    )      No. 1:20 CV 734
ILLINOIS STATE POLICE, BRENDAN F.                   )
KELLY, in both his individual and official capacity )
as Director of the Illinois State Police, and       )
JESSICA TRAME, in both her individual and           )
official capacity as Bureau Chief of the Illinois   )
State Police Firearms Services Bureau,              )
                                                    )
                     Defendants.                    )

 AMENDED COMPLAINT FOR CLASS ACTION RELIEF IN LAW AND EQUITY

      COME NOW the Plaintiffs, RYAN A. THOMAS, GORAN LAZIC, DOVONI R.

SINGLETON, ILLINOIS STATE RIFLE ASSOCIATION, and SECOND

AMENDMENT FOUNDATION, INC., by and through LAW FIRM OF DAVID G.

SIGALE, P.C. and KNABE & BEDELL, their attorneys, and for their Complaint for

legal, declaratory and injunctive relief against the Defendants, ILLINOIS STATE

POLICE, BRENDAN F. KELLY, in both his individual and official capacity as

Director of the Illinois State Police, and JESSICA TRAME, in both her individual

and official capacity as Bureau Chief of the Illinois State Police Firearms Services

Bureau, as prayed for below, state as follows:
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                                  INTRODUCTION

      On September 10, 2019, the State of Illinois Commission on Government

Forecasting and Accountability reported that, in the past five years, the Illinois

State Police (“ISP”) has had funds totaling more than $29,500,000.00 swept or

transferred away from the State Police Firearms Services Fund, the State Police

Operations Assistance Fund, and the State Police Services Fund and into other

accounts. The money was to be used for three purposes: administration of the

Firearm Owners Identification Card Act (430 ILCS 65/1, et seq.) (“FOID Card Act”),

background checks for firearm-related services, and concealed carry licensing

pursuant to the Firearms Concealed Carry Act (430 ILCS 66/1, et seq.) (“FCCA”).

      Instead, the more than $29,500,000.00 has been subject to interfund

transfers which are ostensibly to be repaid but which have not been, or swept into

other accounts without an obligation to reimburse the funds at all.

      The effect of this has been a systematic slowdown and sometimes halt of

processing of applications and appeals of the FOID Card Act. Applicants and

appellants spend days on the phone attempting to reach someone at the ISP with no

success. In the unlikely event that a person answers, the applicant/appellant is

usually told only that their case is under review.

      Appellants who quickly had their FOID cards, and likewise their concealed

carry licenses (“CCL”), revoked for reasons such as criminal charges or emergency

orders of protection that were dismissed or expunged, or no-longer-applicable

residence changes, or other statutory reasons that have been corrected or



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addressed, quickly find their appeals sucked into a black hole from which escape

comes, if at all, with an interminable wait. There is no statutory deadline for the

Defendants to respond to a FOID appeal, and it is common for appellants to wait

many months, or even years, for a decision that does not come. While the FOID

appeal situation has been exacerbated by the State’s response to the COVID-19

pandemic, the FOID appeal situation long pre-dates it.

      Further, the funds sweep and the breakdown of the FOID appeal system

have endangered public safety, as qualified persons are denied their rights and the

ability to self-defense and defense of their families with a firearm while languishing

in the FOID appeal system, during which time their CCLs are also revoked, while

criminals who ignore the FOID Card Act and FCCA requirements altogether carry

on unaffected.

      The right to keep and bear arms for defense of hearth and home is a

fundamental individual right (See District of Columbia v. Heller, 554 U.S. 570

(2008), and applies to the Defendants (See McDonald v. City of Chicago, 561 U.S.

742 (2010)). The right to the public carry of firearms is also fundamental, as much

so as the possession of firearms inside one’s home. In response to the Seventh

Circuit’s decision in Moore v. Madigan, 702 F.3d 933 (7th Cir. 2012), Illinois became

the last State in America to allow the public carry of firearms for self-defense

purposes.

      However, the laws governing the licensing of firearm possession and

concealed carry in Illinois have resulted in a system that, for some, result in a



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permanent denial of that right. This is due to a system that is extremely quick to

deny or revoke persons’ rights, and extremely slow in acknowledging or restoring

them.

        Plaintiff Thomas had been battling this system since 2017. His only “sin”

was moving out of the State, and since moving back to Illinois has been trying to

vindicate his FOID and CCL rights. Plaintiff Lazic has had a FOID and CCL

appeal pending since the dismissal and later expungement of a charge in 2017. In

both cases, the Defendants’ inactivity is inexcusable. Almost immediately after this

suit was filed, the Defendants reinstated their FOID rights and issued them FOID

cards, but that neither excuses nor negates the Defendants’ conduct.

        Plaintiff Singleton has had a FOID appeal pending since June, 2018, since

being denied for a decades-old offense which should no longer be a FOID

disqualifier. Despite multiple attempts at contact with the ISP, Singleton has

received no response to his appeal.

        Plaintiffs are a few such individuals unlawfully aggrieved by the system, but

they are far from the only ones.

                            JURISDICTION AND VENUE

        1.    This Court has subject matter jurisdiction over this action pursuant to

28 U.S.C. §§ 1331, 1343, 2201 and 2202, and 42 U.S.C. §1983, in that this action

seeks to redress the deprivation, under color of the laws, statutes, ordinances,

regulations, customs, and usages of the Defendants as they execute, administer and




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enforce the complained-of laws, of the rights, privileges or immunities secured by

the United States Constitution and by Acts of Congress.

      2.     Venue lies in this Court pursuant to 28 U.S.C. §1391, because the

events and omissions giving rise to this action are harming Plaintiff in this District.

                                      PARTIES

Plaintiffs

      3.     Ryan A. Thomas (“Thomas”) is an individual 47 years of age who

resides in the City of Wilmette, County of Cook, in the State of Illinois. Thomas has

two children who he has faithfully supported. Thomas obtained a B.A. in Business

Administration in 1998, is currently obtaining an Executive MBA from the Kellogg

School of Business at Northwestern University, and he has been gainfully and

continuously employed as a Vice President of Sales in the cash automation services

industry, and prior to that owned an IT consulting company.

      4.     Prior to November, 2015, Thomas had both a valid FOID card and

concealed carry license (“CCL”). In November, 2015, Thomas moved to Texas, and

in February, 2016, the Defendants revoked Thomas’ FOID pursuant to 430 ILCS

65/8, as well as his CCL, and demanded their return based on Thomas’ out-of-state

residence.

      5.     In November, 2017, to be closer to his children, Thomas moved back to

Illinois. Since then, Thomas had been attempting to regain his FOID and CCL,

which by their dates had not even expired. After many attempts to reach someone

at the Illinois State Police by telephone, and complying with the FOID appeal



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reinstatement process listed on the ISP’s website, and even having family members

to write letters to the ISP on Thomas’ behalf, the ISP never followed up with any

correspondence or other communication method. Thomas’ FOID and CCL statuses

were listed as “revoked” on the ISP website for years, and the ISP never answered

telephone calls.

      6.     Finally, Thomas received his FOID card in early February, 2020, less

than two weeks after the filing of this lawsuit.

      7.     Thomas would have possessed and carried a loaded and functional

concealed handgun at home and in public for self-defense, but refrained for years

from doing so because he feared prosecution due to the prohibitions on possessing a

firearm for self-defense without a FOID card and carrying a concealed firearm in

public for self-defense without a CCL. Thomas feared not just for himself based on

the current violent crime situation in Chicago, but Thomas also worried for the

safety of his children and family members.

      8.     Goran Lazic (“Lazic”) is an individual 51 years of age who resides in

the Village of Vernon Hills, County of Lake, in the State of Illinois. Lazic is married

and has two children. Lazic obtained an Associate of Applied Science in Dental

Hygiene degree in 2004, and since then he has been continuously employed as a

dental hygienist.

      9.     Prior to June 7, 2017, Lazic had both a valid FOID card and CCL. In

May, 2017, Lazic was arrested for domestic battery/physical contact pursuant to 720

ILCS 5/12-3,2(a)(2), and the Defendants revoked Lazic’s FOID card and CCL



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pursuant to 430 ILCS 65/8. The charge was dismissed on June 7, 2017 (the same

day Lazic’s FOID and CCL were revoked), and the arrest was expunged on

February 14, 2018.

      10.    Since that time, Lazic had been attempting to regain both his FOID

card and CCL. He submitted an administrative appeal to the Defendants in June,

2017, but received no response. Through counsel, Lazic followed up on his appeal

on May 18, 2018, September 14, 2018, and November 28, 2018, but at no time did

Lazic receive his FOID card, CCL, or even a response to any of his appeal efforts.

      11.    Finally, Lazic received his FOID card in early February, 2020, one

week after the filing of this lawsuit.

      12.    Lazic would have possessed and carried a loaded and functional

concealed handgun at home and in public for self-defense, but refrained for years

from doing so because he feared prosecution due to the prohibitions on possessing a

firearm for self-defense without a FOID card and carrying a concealed firearm in

public for self-defense without a CCL. Lazic feared not just for himself, but Lazic

also worried for the safety of his children and family members.

      13.    Dovoni R. Singleton (“Singleton”) is an individual 40 years of age who

resides in the City of Chicago, County of Cook, in the State of Illinois. Thomas is

married and has two children. Singleton earned an Associate’s Degree in Child

Development from Truman College in Chicago, and received a Paraprofessional

License from the Illinois State Board of Education, and is gainfully employed as a

special education teacher at an alternative high school. He has also worked with



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foster children and families, as well as emotionally disturbed and developmentally

delayed youth.

      14.    In May, 2018, Singleton applied for a FOID card and was denied, due

to a marijuana offense which is more than twenty years old, for which Singleton

completed the required one year of probation, and which is now expungable. Since

that denial, Singleton has been attempting to obtain a FOID card with a

meritorious appeal. After many attempts to reach someone at the Illinois State

Police by telephone, and complying with the FOID appeal process listed on the ISP’s

website, and even having family, colleagues, and friends to write letters to the ISP

on Thomas’ behalf, the ISP never followed up with any correspondence or other

communication method. Singleton’s FOID status are still listed as “denied” on the

ISP website, and the ISP still does not answer telephone calls.

      15.    Singleton would possess and carry a loaded and functional concealed

handgun at home and in public for self-defense, but refrains from doing so because

he fears prosecution due to the prohibitions on possessing a firearm for self-defense

without a FOID card and carrying a concealed firearm in public for self-defense

without a CCL. Singleton has fear not just for himself based on the current violent

crime situation in Chicago, but Singleton also worries for the safety of his children

and family members.

      16.    ISRA is a non-profit membership organization incorporated under the

laws of Illinois with its principal place of business in Chatsworth, Illinois. ISRA has

more than 26,000 members and supporters in Illinois, and many members outside



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the State of Illinois. The purposes of ISRA include securing the Constitutional right

to privately own and possess firearms within Illinois, through education, outreach,

and litigation. ISRA brings this action on behalf of itself and its members.

      17.      ISRA has members who have been denied Illinois FOID cards and

concealed carry licenses, and who have unsuccessfully attempted to navigate,

communicate with, and avail themselves of the FOID and CCL appeals processes,

not because their claims were not meritorious, but simply because the Defendants

have engineered and/or allowed the aforementioned processes to provide no relief to

applicants.

      18.      Members of ISRA who are Illinois residents, and who are and have

been wrongfully deprived of their FOID cards and CCLs, would possess and carry

loaded and functional concealed handguns at home and in public for self-defense,

but refrain from doing so because they fear prosecution due to the prohibitions on

possessing a firearm for self-defense without a FOID card and carrying a concealed

firearm in public for self-defense without a CCL.

      19.      SAF is a non-profit membership organization incorporated under the

laws of Washington with its principal place of business in Bellevue, Washington.

SAF’s membership includes day care home licensees residing in Illinois. SAF has

over 650,000 members and supporters nationwide. The purposes of SAF include

education, research, publishing and legal action focusing on the Constitutional right

privately to own and possess firearms. SAF brings this action on behalf of itself and

its members.



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      20.    Members of SAF who are Illinois residents and who are and have been

wrongfully deprived of their FOID cards and CCLs, would possess and carry loaded

and functional concealed handguns at home and in public for self-defense, but

refrain from doing so because they fear prosecution due to the prohibitions on

possessing a firearm for self-defense without a FOID card and carrying a concealed

firearm in public for self-defense without a CCL.

      21.    The individual Plaintiffs are members of both ISRA and SAF.

Defendants

       22.     The Department of Illinois State Police (“ISP”) is a department of the

Executive Branch of the State of Illinois created by statute, 20 ILCS 2605/2605-1, et

seq. Under the Illinois Firearm Owners Identification Card Act, 430 ILCS 65/1, et

seq, (“FOID Card Act”), the ISP is charged with administering the system for

considering applications for, granting, denying, and/or revoking individual licenses

to possess firearms under the FOID Card Act.

       23.   Further, under the FCCA, the ISP is charged with administering the

system for granting and revoking individual licenses to carry concealed handguns

under the FCCA.

      24.    Brendan F. Kelly is the Acting Director of the ISP. He is the ISP

employee directly responsible for the administration of the FOID Card Act and the

FCCA, and is an ISP employee directly responsible for the initial, continued, and

wrongful revocations of Thomas’, Lazic’s, Singleton’s, and the organizational

Plaintiffs’ affected members, FOID and CCL rights. He is sued in both his



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individual and official capacity, the latter pursuant to the principles set forth in Ex

Parte Young, 209 U.S. 123 (1908).

      25.      Jessica Trame is the Bureau Chief of the Firearm Services Bureau

(“FSB”), a division of the ISP established to administer programs relating firearms

delegated to the ISP, such as under the FOID Card Act and the FCCA. Having the

power to make decisions in these programs, the FSB is an administrative agency of

the State of Illinois as defined by 735 ILCS 5/3-101.

      26.      As Bureau Chief of the FSB, Trame is the ISP employee directly

responsible for the administration of the FOID Card Act and the FCCA, and is an

ISP employee directly responsible for the initial, continued, and wrongful

revocations of Thomas’, Lazic’s, Singleton’s, and the organizational Plaintiffs’

affected members, FOID and CCL rights. She is sued in both her individual and

official capacity, the latter pursuant to the principles set forth in Ex Parte Young,

209 U.S. 123 (1908).

                         FACTS COMMON TO ALL COUNTS

FOID and Concealed Carry Rights in Illinois:

      27.      The right to keep and bear arms for defense of hearth and home is a

fundamental individual right (See District of Columbia v. Heller, 554 U.S. 570

(2008), and applies to the Defendants (See McDonald v. City of Chicago, 561 U.S.

742 (2010)).

      28.      The right to the public carry of firearms is also fundamental, as much

so as the possession of firearms inside one’s home. In response to the decision of the



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United States Court of Appeals for the Seventh Circuit in Moore v. Madigan, 702

F.3d 933 (7th Cir. 2012), finding the Second Amendment to the United States

Constitution secured the right to carry a concealed firearm for protection outside

the home, Illinois enacted the FCCA, making Illinois the last State in America to

allow the public carry of firearms for self-defense purposes.

      29.    Possession of a valid FOID card is a prerequisite for an Illinois

resident to obtain a CCL.

      30.    Thomas and Lazic wished to obtain a FOID card in order to be able to

obtain and possess a firearm for self-defense and defense of family, as well as to

obtain/renew their CCLs. Singleton wishes to obtain a FOID card in order to be able

to obtain and possess a firearm for self-defense and defense of family. The

organizational Plaintiffs’ affected members likewise wish to obtain a FOID card in

order to be able to obtain and possess a firearm for self-defense and defense of

family. Lazic also wishes to go to the firing range for practice, but cannot do so

without a FOID card. Thomas is also a hunter and would go with friends and

family if he were able, which of course he cannot because he lacks a FOID card.

      31.    Thomas, Lazic, Singleton, and the organizational Plaintiffs’ affected

members, meet all qualifications for a FOID card, and there was no lawful reason

for the Defendants to deny Thomas’ and Lazic’s FOID appeals, and to continue to

deny Singleton’s, and the organizational Plaintiffs’ affected members, pending

FOID appeals, much less to fail to ever respond to them.




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      32.    Likewise, the only reason Thomas and Lazic, and certain of the

organizational Plaintiffs’ affected members, currently have an inability to obtain

and/or renew their CCLs is the wrongful deprivation of their FOID cards.

                            CONSTITUTIONAL PROVISIONS

      33.    The Second Amendment provides:

             A well regulated Militia, being necessary to the security of a free
             State, the right of the people to keep and bear Arms, shall not be
             infringed.

U.S. Const. amend. II.

      34.    The Second Amendment “is fully applicable against the States.”

McDonald v. City of Chicago, 561 U.S. 3025, 130 S. Ct. 3020, 3026 (2010).

                                      STATE LAW

      35.    430 ILCS 65/2 states, in relevant part:

                   Sec. 2. Firearm Owner's Identification Card required; exceptions.

             (a)      (1) No person may acquire or possess any firearm, stun
                      gun, or taser within this State without having in his or
                      her possession a Firearm Owner's Identification Card
                      previously issued in his or her name by the Department of
                      State Police under the provisions of this Act.

                      (2) No person may acquire or possess firearm ammunition
                      within this State without having in his or her possession
                      a Firearm Owner's Identification Card previously issued
                      in his or her name by the Department of State Police
                      under the provisions of this Act.


                      ...

             (c-5) The provisions of paragraphs (1) and (2) of subsection (a) of this
             Section regarding the possession of firearms and firearm ammunition
             do not apply to the holder of a valid concealed carry license issued


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              under the Firearm Concealed Carry Act who is in physical possession
              of the concealed carry license.


       36.    430 ILCS 65/3 states in relevant part:

              (a) Except as provided in Section 3a, no person may knowingly
              transfer, or cause to be transferred, any firearm, firearm
              ammunition, stun gun, or taser to any person within this State
              unless the transferee with whom he deals displays either: (1) a
              currently valid Firearm Owner's Identification Card which has
              previously been issued in his or her name by the Department of
              State Police under the provisions of this Act; or (2) a currently
              valid license to carry a concealed firearm which has previously
              been issued in his or her name by the Department of State
              Police under the Firearm Concealed Carry Act.

       37.    No provision of 430 ILCS 65/3a is relevant to Plaintiffs.

       38.    430 ILCS 65/10 states in relevant part:

              Appeal to director; hearing; relief from firearm prohibitions.

              (a) Whenever an application for a Firearm Owner's
              Identification Card is denied, whenever the Department fails to
              act on an application within 30 days of its receipt, or whenever
              such a Card is revoked or seized as provided for in Section 8 of
              this Act, the aggrieved party may appeal to the Director of State
              Police for a hearing upon such denial, revocation or seizure . . . .

       39.    430 ILCS 65/14 states in relevant part:

              (c) A violation of paragraph (1) of subsection (a) of Section 2 is a Class
              3 felony when:

                     (1)   the person's Firearm Owner's Identification Card is
                     revoked or subject to revocation under Section 8[.]

          COUNT I: VIOLATION OF RIGHT TO KEEP AND BEAR ARMS
             U.S. CONST. AMENDS. II AND XIV, 42 U.S.C. §1983

       40.    Plaintiffs incorporate and reallege Paragraphs 1 through 39, inclusive,

as if fully restated herein.


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       41.    Thomas, Lazic, Singleton, and the organizational Plaintiffs’ affected

members, through sheer indifference and/or a refusal to process their FOID appeals

on the part of the Defendants, have been denied their constitutionally guaranteed

rights to keep and bear arms for self-defense.

       42.    By so burdening Thomas’, Lazic’s, Singleton’s, and the organizational

Plaintiffs’ affected members’, ability to obtain a FOID card under Section 10 of the

FOID Card Act, and likewise their ability to obtain and/or renew a CCL pursuant to

Sections 10 and 50 of the FCCA, the Defendants have not only unjustifiably denied

them their rights but have effectively imposed an unending ban on Thomas’, Lazic’s,

Singleton’s, and the organizational Plaintiffs’ affected members, rights to keep and

bear arms for self-defense.

       43.    The Defendants, under the color of law, both facially and as-applied,

have deprived and are depriving Thomas, Lazic, Singleton, and the organizational

Plaintiffs’ affected members, of their right to keep and bear arms, in violation of the

Second and Fourteenth Amendments to the United States Constitution. Thomas,

Lazic, Singleton, and the organizational Plaintiffs’ affected members, were and are

thus damaged in violation of 42 U.S.C. §1983. Thomas, Lazic, Singleton, and the

organizational Plaintiffs’ affected members, are therefore entitled to declaratory

and preliminary and permanent injunctive relief against the continued deprivation

of their rights.

       44.    Thomas, Lazic, Singleton, and the organizational Plaintiffs’ affected

members, are also entitled to monetary damages against Kelly and Trame,



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individually, for the violation of their rights under the Second and Fourteenth

Amendments to the United States Constitution, in violation of 42 U.S.C. §1983.

     COUNT II: VIOLATION OF RIGHT TO PROCEDURAL DUE PROCESS
                 U.S. CONST. AMEND. XIV, 42 U.S.C. §1983

       45.    Plaintiffs repeat, reallege, and incorporate Paragraphs 1 through 44,

inclusive, as if fully restated herein.

       46.    Thomas, Lazic, Singleton, and the organizational Plaintiffs’ affected

members, through sheer indifference and/or a refusal to process their FOID appeals

on the part of the Defendants, have been denied their constitutionally guaranteed

rights to keep and bear arms for self-defense.

       47.    By so burdening Thomas’ and Lazic’s ability to obtain a FOID card

under Section 10 of the FOID Card Act, and likewise their ability to obtain and/or

renew a CCL pursuant to Sections 10 and 50 of the FCCA, the Defendants not only

unjustifiably denied them their rights, but effectively imposed an unending ban on

Thomas’ and Lazic’s rights to keep and bear arms for self-defense, ending only when

Thomas and Lazic filed this lawsuit after years of deprivation of their rights.

       48.    By so burdening Singleton’s and the organizational Plaintiffs’ affected

members’, ability to obtain a FOID card under Section 10 of the FOID Card Act, and

likewise their ability to obtain and/or renew a CCL pursuant to Sections 10 and 50

of the FCCA, the Defendants have not only unjustifiably denied them their rights

but have effectively imposed an unending ban on Singleton’s rights to keep and bear

arms for self-defense.




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      49.    By so burdening Thomas’ and Lazic’s ability to obtain a FOID Card,

and likewise a CCL, the Defendant not only unjustifiably denied them their rights,

but effectively imposed an unending ban on Thomas’ and Lazic’s right to keep and

bear arms for self-defense, ending only when Thomas and Lazic filed this lawsuit

after years of deprivation of their rights.

      50.    By so burdening Singleton’s and the organizational Plaintiffs’ affected

members’ ability to obtain a FOID Card, and likewise a CCL in certain cases, the

Defendants have not only unjustifiably denied them their rights but have effectively

imposed an unending ban on Singleton’s, and the organizational Plaintiffs’ affected

members’, right to keep and bear arms for self-defense.

      51.    Thomas’, Lazic’s, Singleton’s, and the organizational Plaintiffs’ affected

members’ private interest that has been affected and deprived by the Defendants’

actions is their fundamental right to armed self-defense in public. They are not

persons who were historically prohibited from possessing firearms, and have not

done anything since to remove themselves from those categories of persons able to

exercise this fundamental right.

      52.    The risk of the Defendants’ erroneous deprivation of Thomas’, Lazic’s,

Singleton’s, and the organizational Plaintiffs’ affected members’, interest through

the FOID appeal process is great, as Thomas, Lazic, Singleton, and the

organizational Plaintiffs’ affected members, have been/were deprived of their

fundamental rights with no opportunity to correct or undo the deprivation, and the

consequences include Thomas’ and/or Lazic’s, and/or Singleton’s, and the



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organizational Plaintiffs’ affected members’, sustaining of a severe or fatal injury

should they have suffered/suffer a violent attack and been/be unable to properly

defend themselves.

      53.    The value of additional or substitute procedural safeguards, such as

processing FOID appeals in a timely manner, responding to inquiries, and offering

hearings when appropriate, is high.

      54.    The Defendants and the State do not have an interest in depriving

persons of fundamental rights, and of wrongfully preventing qualified persons from

being able to defend themselves, at home or in public.

      55.    The Defendants, under the color of law, both facially and as-applied,

have deprived and are depriving Thomas, Lazic, Singleton, and the organizational

Plaintiffs’ affected members, of their right to keep and bear arms, in violation of

their procedural due process rights under the Fourteenth Amendment to the United

States Constitution. Thomas, Lazic, Singleton, and the organizational Plaintiffs’

affected members, have been/are thus damaged in violation of 42 U.S.C. §1983.

Thomas, Lazic, Singleton, and the organizational Plaintiffs’ affected members, are

therefore entitled to declaratory and preliminary and permanent injunctive relief

against the continued deprivation of their rights.

      56.    Thomas, Lazic, Singleton, and the organizational Plaintiffs’ affected

members, are also entitled to monetary damages against Kelly and Trame,

individually, for the violation of their rights under the Due Process Clause of the




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Fourteenth Amendment to the United States Constitution, in violation of 42 U.S.C.

§1983.



      WHEREFORE, Plaintiffs pray this Honorable Court:

            a.      find that the Defendants have unjustifiably denied Thomas,

      Lazic, Singleton, and the organizational Plaintiffs’ affected members, their

      Second Amendment right to keep and bear arms for self-defense;

            b.     find that the Defendants have unjustifiably denied Thomas,

      Lazic, Singleton, and the organizational Plaintiffs’ affected members, their

      Fourteenth Amendment procedural due process rights;

            c.     enter an order granting Thomas and Lazic, Singleton, and the

      organizational Plaintiffs’ affected members, injunctive relief that enjoins the

      Defendants from further deprivation of Plaintiffs’ rights to keep and bear

      arms and right via lack of procedural due process;

            c.     enter a mandatory injunction requiring the Defendants to issue

      FOID cards to Singleton and the organizational Plaintiffs’ affected members;

            d.     award Thomas, Lazic, Singleton, and the organizational

      Plaintiffs’ affected members, monetary damages against Defendants Kelly

      and Trame individually for the deprivations of Plaintiffs’ Second and

      Fourteenth Amendment rights;

            e.     award Plaintiffs their attorney’s fees and costs, pursuant to 42

      U.S.C. §1983; and,



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            f.    award Plaintiffs such other and further relief as it deems just.




Dated: June 10, 2020                    Respectfully submitted,


                                        By:_/s/ David G. Sigale
                                           One of the Attorneys for Plaintiffs



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